      Case 1-24-45433-ess       Doc 1-1     Filed 12/31/24    Entered 12/31/24 15:26:10


                  CORPORATE AUTHORIZATION TO FILE PETITION



        The undersigned, being the Managing Member and the sole member of 1550 BEDFORD
AVE LLC, a New York limited liability company (the “Company”), do hereby consent to and adopt
the following resolutions as the duly adopted resolutions of the members of the Company and to the
taking of the actions authorized hereby:


       "RESOLVED, that it is desirable and in the best interest of the Company, its creditors,
       and other interested parties, that a petition be filed by the Company commencing a case
       under Chapter 11 of title 11 of the United States Code”; and it is further

         "RESOLVED, that the Managing Member of the Company shall have authority to (i)
       execute and verify a chapter 11 bankruptcy petition and cause the same to be filed with the
       United States Bankruptcy Court for the Eastern District of New York (iii) take such actions
       and execute such documents as are necessary or desirable to confirm and consummate a plan
       of reorganization for the Company including any plan of reorganization which results in a
       liquidation of the Company and its assets”; and it is further

        "RESOLVED, that the Law Offices of Isaac Nutovic be retained as bankruptcy counsel for
       the Company under a general retainer, in addition to such special counsel as may hereafter
       become necessary or proper to the successful conclusion of such Chapter 11case”.

        IN WITNESS WHEREOF, the undersigned have executed this Written Consent as of
       December 31, 2024.


             ______________________
        Name: Yoel Goldman
        Title: Managing Member




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